                  Case 23-10177                  Doc 61           Filed 11/17/23 Entered 11/17/23 13:38:01                                            Desc Main
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Fill in this information to identify your case:

Debtor 1                   Adam Ethan Livingston
                           First Name                      Middle Name                       Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                       Last Name


United States Bankruptcy Court for the:              DISTRICT OF MASSACHUSETTS

Case number            23-10177
(if known)                                                                                                                                                Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
          Yes.

Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1          AFC Urgent Care                                         Last 4 digits of account number                                                                         $20.00
             Nonpriority Creditor's Name
             3700 Cahaba Beach Road                                  When was the debt incurred?
             Birmingham, AL 35242
             Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
                 Debtor 1 only                                           Contingent

                 Debtor 2 only                                           Unliquidated

                 Debtor 1 and Debtor 2 only                             Disputed
                                                                     Type of NONPRIORITY unsecured claim:
                 At least one of the debtors and another
                                                                         Student loans
                 Check if this claim is for a community
             debt                                                       Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                         report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                     Other. Specify




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4.2       After pay                                          Last 4 digits of account number                                                          $254.00
          Nonpriority Creditor's Name
          222 Kearny Avenue, Ste 600                         When was the debt incurred?
          San Francisco, CA 94108
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.3       Amazon                                             Last 4 digits of account number                                                     Unknown
          Nonpriority Creditor's Name
          410 Terry Ave N                                    When was the debt incurred?           2019-22
          Seattle, WA 98109
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.4       American Express                                   Last 4 digits of account number                                                         $3,645.00
          Nonpriority Creditor's Name
          c/o Zwicker & Associates                           When was the debt incurred?           3 years ago
          225 Foxborough Blvd, Suite 205
          Brockton, MA 02305
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit card/lawsuit Brockton District Court




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4.5       Apple Card                                         Last 4 digits of account number                                                         $2,003.00
          Nonpriority Creditor's Name
                                                             When was the debt incurred?
          Lockbox 6112
          PO Box 7247
          Philadelphia, PA 19170-6112
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.6       Bank of America                                    Last 4 digits of account number                                                         $1,000.00
          Nonpriority Creditor's Name
          PO Box 15019                                       When was the debt incurred?           5 years ago
          Wilmington, DE 19850
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   overdraft account

4.7       Best Buy                                           Last 4 digits of account number                                                         $5,041.00
          Nonpriority Creditor's Name
          Best Buy Credit Services                           When was the debt incurred?
          Po Box 183195
          Columbus, OH 43218-3195
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.8       Bluestone Bank                                     Last 4 digits of account number                                                          $700.00
          Nonpriority Creditor's Name
          14 Main Street                                     When was the debt incurred?           10 years ago
          Bridgewater, MA 02324
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   overdraft

4.9       Capital One                                        Last 4 digits of account number       9853                                              $1,363.00
          Nonpriority Creditor's Name
          PO Box 60                                          When was the debt incurred?           2 years ago
          Saint Cloud, MN 56302
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   two overdraft accounts

4.1
0         Capital One                                        Last 4 digits of account number                                                         $2,816.00
          Nonpriority Creditor's Name
          PO Box 71083                                       When was the debt incurred?
          Charlotte, NC 28272-1083
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit card




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Debtor 1 Adam Ethan Livingston                                                                   Case number (if known)         23-10177

4.1
1         Capital One                                        Last 4 digits of account number       9853                                               $747.00
          Nonpriority Creditor's Name
          1680 Capital One Drive                             When was the debt incurred?
          Mc Lean, VA 22102-3491
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.1
2         CBNA                                               Last 4 digits of account number                                                         $5,041.00
          Nonpriority Creditor's Name
          50 Northwest Point Road                            When was the debt incurred?
          Elk Grove Village, IL 60007
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.1
3         Chase                                              Last 4 digits of account number                                                         $2,000.00
          Nonpriority Creditor's Name
          PO Box 15583                                       When was the debt incurred?           within last year
          Wilmington, DE 19886
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   overdraft




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4.1
4         Check Redi                                         Last 4 digits of account number                                                          $690.00
          Nonpriority Creditor's Name
          406 Park Place                                     When was the debt incurred?
          Lexington, KY 40511
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.1
5         Citibank                                           Last 4 digits of account number       9776                                              $3,578.00
          Nonpriority Creditor's Name
          c/p Portfolio Recovery                             When was the debt incurred?
          120 Corporate Blvd
          Norfolk, VA 23502
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit card

4.1
6         Citizens Bank                                      Last 4 digits of account number       8980                                               $560.00
          Nonpriority Creditor's Name
          1 Citizens Plaza                                   When was the debt incurred?
          Providence, RI 02903
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.1
7         Citizens One                                       Last 4 digits of account number                                                         $1,000.00
          Nonpriority Creditor's Name
          10561 Telegraph Road                               When was the debt incurred?           2020
          Glen Allen, VA 23059
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   loan for iphone that no longer have

4.1
8         Comenity Bank                                      Last 4 digits of account number                                                         $1,790.00
          Nonpriority Creditor's Name
          PO Box 182120                                      When was the debt incurred?
          Columbus, OH 43218-2273
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Ulta

4.1
9         Comenity Capital Bank                              Last 4 digits of account number                                                         $1,790.00
          Nonpriority Creditor's Name
          PO Box 659450                                      When was the debt incurred?
          San Antonio, TX 78265-9450
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.2
0         Cumberland Farms Smartpay                          Last 4 digits of account number                                                          $400.00
          Nonpriority Creditor's Name
          165 Flanders Road                                  When was the debt incurred?
          Westborough, MA 01581
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.2
1         Discover                                           Last 4 digits of account number                                                          $600.00
          Nonpriority Creditor's Name
          PO Box 71084                                       When was the debt incurred?           2 years ago
          Charlotte, NC 28272
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   overdraft

4.2
2         DSW                                                Last 4 digits of account number                                                          $206.00
          Nonpriority Creditor's Name
          810 DSW Drive                                      When was the debt incurred?
          Columbus, OH 43219
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.2
3         Earnin App                                         Last 4 digits of account number                                                           $50.00
          Nonpriority Creditor's Name
          200 Portage Avenue                                 When was the debt incurred?
          Palo Alto, CA 94306
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.2
4         EBay                                               Last 4 digits of account number                                                           $41.00
          Nonpriority Creditor's Name
          2025 Hamilton Avenue                               When was the debt incurred?           2021
          San Jose, CA 95125
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.2
5         Fidelity                                           Last 4 digits of account number       7932                                               $260.00
          Nonpriority Creditor's Name
          900 Salam Street                                   When was the debt incurred?           2021
          Smithfield, RI 02917
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.2
6         Fidelity Investments                               Last 4 digits of account number       7932                                               $259.00
          Nonpriority Creditor's Name
          100 Crosby Parkway KC2Q                            When was the debt incurred?
          Covington, KY 41015
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.2
7         First Premier Bank                                 Last 4 digits of account number                                                          $307.00
          Nonpriority Creditor's Name
          601 S Minnesota Ave                                When was the debt incurred?
          Sioux Falls, SD 57104
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.2
8         Gas Buddy                                          Last 4 digits of account number                                                           $79.00
          Nonpriority Creditor's Name
          77 N Washington Street, Fl 2                       When was the debt incurred?
          Boston, MA 02114
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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Debtor 1 Adam Ethan Livingston                                                                   Case number (if known)         23-10177

4.2
9         Good Samaritan Hospital                            Last 4 digits of account number                                                          $100.00
          Nonpriority Creditor's Name
          Attn: Collections                                  When was the debt incurred?
          1 Pearl Street
          Brockton, MA 02301
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.3
0         Griots                                             Last 4 digits of account number                                                     Unknown
          Nonpriority Creditor's Name
          3333 South 38th Street                             When was the debt incurred?
          Tacoma, WA 98409
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.3
1         Hertz Corporation                                  Last 4 digits of account number                                                         $2,000.00
          Nonpriority Creditor's Name
          PO Box 121056                                      When was the debt incurred?
          Dallas, TX 75312-1056
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   rental car use




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4.3
2         Hertz Rental Care                                  Last 4 digits of account number                                                         $6,000.00
          Nonpriority Creditor's Name
          8501 Williams Road                                 When was the debt incurred?
          Estero, FL 33928
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.3
3         Kikoff Lending LLC                                 Last 4 digits of account number                                                           $33.00
          Nonpriority Creditor's Name
          PO Box 40070                                       When was the debt incurred?
          Reno, NV 89504
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.3
4         LDV Inc                                            Last 4 digits of account number       7650                                               $280.00
          Nonpriority Creditor's Name
          180 Industrial Drive                               When was the debt incurred?
          Burlington, WI 53105
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.3
5         LL Bean                                            Last 4 digits of account number                                                     Unknown
          Nonpriority Creditor's Name
          PO Box 9001068                                     When was the debt incurred?
          Louisville, KY 40290-1068
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit card

4.3
6         MA Board of Higher Education                       Last 4 digits of account number                                                         $4,000.00
          Nonpriority Creditor's Name
          454 Broadway, Suite 200                            When was the debt incurred?
          Revere, MA 02151
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 nondischargable student loans
4.3
7         Merrick Valley Credit Union                        Last 4 digits of account number                                                          $550.00
          Nonpriority Creditor's Name
          500 Merrimack Street                               When was the debt incurred?           3 years ago
          Lawrence, MA 01843
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   overdraft




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4.3
8         My Eye Doctor                                      Last 4 digits of account number       0547                                               $342.00
          Nonpriority Creditor's Name
          PO Box 801696                                      When was the debt incurred?           January 2022
          Kansas City, MO 64180
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   medical

4.3
9         Nelnet/Dept of Edu                                 Last 4 digits of account number                                                     $10,935.00
          Nonpriority Creditor's Name
          121 S 13th Street                                  When was the debt incurred?
          Lincoln, NE 68501
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 nondischargable student loans
4.4
0         Nok Try Out                                        Last 4 digits of account number                                                          $600.00
          Nonpriority Creditor's Name
          2368 Washington Ave, Suite 2                       When was the debt incurred?
          Bronx, NY 10458
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.4
1         Nordstrom/TD Bank                                  Last 4 digits of account number                                                          $683.00
          Nonpriority Creditor's Name
          13531 E Caley Avenue                               When was the debt incurred?
          Englewood, CO 80111
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.4
2         Pep Boys                                           Last 4 digits of account number                                                         $2,000.00
          Nonpriority Creditor's Name
          1 Presdential Blvd                                 When was the debt incurred?
          Bala Cynwyd, PA 19004
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.4
3         Perpay                                             Last 4 digits of account number                                                         $2,000.00
          Nonpriority Creditor's Name
          1217 Sansom Street                                 When was the debt incurred?
          Philadelphia, PA 19107
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.4
4         Redwing Shoes                                      Last 4 digits of account number                                                          $332.00
          Nonpriority Creditor's Name
          485 Granite Street                                 When was the debt incurred?
          Braintree, MA 02184
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.4
5         Shell Card Payments                                Last 4 digits of account number                                                          $200.00
          Nonpriority Creditor's Name
          PO Box 9001011                                     When was the debt incurred?
          Louisville, KY 40290-1011
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.4
6         Specialized Financing Co LLC                       Last 4 digits of account number       8188                                              $2,500.00
          Nonpriority Creditor's Name
          2504 Build America Drive                           When was the debt incurred?
          Hampton, VA 23666
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.4
7         Synchony Bank                                      Last 4 digits of account number                                                         $8,000.00
          Nonpriority Creditor's Name
          PO Box 965015                                      When was the debt incurred?
          Orlando, FL 32896
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Amazon and TJX

4.4
8         Target                                             Last 4 digits of account number                                                          $600.00
          Nonpriority Creditor's Name
          PO Box 9491                                        When was the debt incurred?
          Minneapolis, MN 55440
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.4
9         TD Bank                                            Last 4 digits of account number                                                         $2,000.00
          Nonpriority Creditor's Name
          PO Box 1377                                        When was the debt incurred?           4 years ago
          Lewiston, ME 04243
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   overdraft




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4.5
0         U Own Leasing                                      Last 4 digits of account number       7732                                              $1,265.00
          Nonpriority Creditor's Name
          10500 University Center Drive                      When was the debt incurred?           January 2922
          Tampa, FL 33612
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.5
1         UPS                                                Last 4 digits of account number       7680                                               $150.00
          Nonpriority Creditor's Name
          PO Box 7247-0244                                   When was the debt incurred?
          Philadelphia, PA 19170
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.5
2         Urgent Care Norwood                                Last 4 digits of account number                                                           $20.00
          Nonpriority Creditor's Name
          103 Providence Highway                             When was the debt incurred?
          East Walpole, MA 02032
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
              Check if this claim is for a community
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.5
3         Venmo                                                    Last 4 digits of account number                                                                $550.00
          Nonpriority Creditor's Name
          2038 Locust Street Floor 1                               When was the debt incurred?             within last year
          Philadelphia, PA 19103
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                              Disputed
                                                                   Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                         Student loans
              Check if this claim is for a community
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   overdraft

Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
American Express                                             Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
PO Box 297871                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
Fort Lauderdale, FL 33329
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
American Express                                             Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
9111 Duke Blvd                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
Mason, OH 45040
                                                             Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                      14,935.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                      66,445.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                      81,380.00




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